              Case
AO 93(Rev. 11/13) Search5:20-mj-00022-DW
                        and Seizure Warrant        Document 1 Filed 01/29/20 Page 1 of 31 PageID #: 1

                                    United States District Court
                                                               for the
                                                      District of South Dakota
               In the Matter of the Search of:
                                                                )
 The premises known as the offices of                           )        Case No.                       - SlQl
  Google Inc., 1600 Amphitheatre                                )
 Parkway, Mountain View, OA 94043                               )
 Account: im970684@gmail.com                                    )
                                                                )

                                                SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

          An application by a federal law enforcement officer or an attomey for the government requests the search ofthe
following person or property located in the District of South Dakota (identify the person or describe the property to be searched
and give its location)


          See ATTACHMENT A, attached hereto and incorporated by reference

       I find that the affidavit, or any recorded testimony, establish probable cause to search and seize the person or
property described above, and that such search will reveal (identify the person or describe the property to be seized):

        Evidence of a crime in violation of 18 U.S.C. §§ 2251,2252,2252A, as described in ATTACHMENT B,
attached hereto and incorporated by reference.

          I find that the affidavit, or any recorded testimony, establishes probable cause to search mid seize Ae person or
 property.

          YOU ARE COMMANDED to execute this warrant on or before                                                  (not to exceed 14 days)

           the daytime 6:00 a.m. to 10 p.m.         □ at any time in the day or night because good cause has been established.

         Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
 taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at
 the place where the property was taken.

         The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
 inventory as required by law and promptly retum this warrant and inventory to Daneta Wollmann
                                                                                    (United States Magistrate Judge)

    □ Pursuant to 18 U.S.C. § 3103a(b), 1 find that immediate notification may have an adverse result listed in 18 U.S.C.
 § 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or
 whose property, will be searched or seized (check the appropriate box)
    □ for            days (not to exceed 30).         □ until, the facts justifying, the later specific date of                    .

    □ Ifind that good cause has been established to authorize the officer executing this warrant to not provide notice prior
 to the execution of the search warrant, i.e., "no knock".

 Date and time issued: J'39-^c>:xa
                                                                                         Judge's signature


 City and state:         Rapid Citv. SD                                    Daneta Wollmann. U.S. Magistrate
                                                                                         Printed name and title                        ..
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                                                            Return

Case No.:                           Date and time warrant executed:      Copy of warrant and inventory left with:

Inventory madMn the presence of:

Inventory ofthe property taken and name of any person(s) seized:




                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant
to the designated judge.



Date:
                                                                             Executing officer's signature



                                                                               Printed name and title
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                                  United States District Court
                                                                for the
                                                       District of South Dakota
             In the Matter of the Search of:                    )                               •        •    ^Cs
                                                                          Case No. 5"-50'"^"'^
 The premises known as the offices of
 Google Inc., 1600 Amphitheatre
 Parkway, Mountain View, CA 94043
 Account: im970684{a),gmail.com



                                      APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer, request a search warrant and state under penalty of peijuiy that I have reason
to believe that on the following person or property (identify the person or describe the property to be searched and give its location):

SEE"ATTACHMENT A", which is attached to and incorporated in this Application and Affidavit

located in the District of       South Dakota        ,there is now concealed (identify the person or describe the property to be seized):

SEE "ATTACHMENT B", which is attached to and incorporated in this Application and Affidavit
         The basis for the search under Fed. R. Grim. P. 41(c)is (check one or more):
                 K evidence of a crime;
                 ^ contraband,fruits of crime, or other items illegally possessed;
                       property designed for use, intended for use, or used in committing a crime;
                  I I a person to be arrested or a person who is unlawfully restrained.
         The search is related to a violation of:


                         Code Section                                          Offense Description
                  18 U.S.C. §§ 2251, 2252,2252A                       Possession or receipt of Child Pornography

        The application is based on these facts:
        E Continued on the attached affidavit, which is incorporated by reference.
        □ Delayed notice of         days (give exact ending date if more than 30 days:                    ) is requested
        under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
        □ Your applicant requests that no notice be given prior to the execution of the search warrant, i.e., "no knock",
        the basis of which is set forth in the attached affidavit.
        □ Your applicant requests authorization to serve the search warrant any time day or night pursuant to Fed. R.
        Crim. P. 41(e)(2)(A)(ii), the basis of which is set forth in the attached affidavit.


                                                                                           Applicant's signature

                                                                           Michelle Pohlen, Special Agent Homeland Security Investigations
                                  ✓                                                        Printed name and title
Sworn to before me and:           signed in my presence.
                             TH submitted, attested to, and acknowledged by reliable electronic means.

Date:
                                                                                                    Judge's signature

City and state: Rapid City. SD                                                          Daneta Wollmann. U.S. Magistrate
                                                                                                    Printed name and title
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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH DAKOTA
                              WESTERN DISTRICT



  IN THE MATTER OF THE SEARCH OF:
  The premises known as the offices of             _____
   Google Inc., 1600 Amphitheatre                                     ^
  Parkway, Mountain View, CA 94043                     SUPPORT OF
  Account: im970684@gmail.com               SEARCH WARRANT
                                            APPLICATION


State of South Dakota )
                        )ss
County of Pennington    )

                 INTRODUCTION AND AGENT BACKGROUND

      I, Michelle Pohlen, Special Agent with Homeland Security Investigations

(HSI), and currently assigned to the Rapid City, South Dakota Resident Agent in

Charge (RAC) Office, being duly sworn, states as follows:

      1.    I have been a Special Agent (SA) with HSI since March 2019. In

September 2019, I completed the Homeland Security Investigations Special

Agent Training (HSISAT) at the Federal Law Enforcement Training Center

(FLETC)in Glynco, Georgia. In June 2019,1 completed the Criminal Investigator

Training Program (CITP), also located at FLETC in Glynco, GA. Prior to becoming

a Special Agent, I was employed as a Federal Air Marshal with the Federal Air

Marshal Service (FAMS) for two and a half years. Prior to FAMS, I served as a

Police Officer with the Savannah Chatham Metropolitan Police Department

(SCMPD)in Savannah, Georgia for one and a half years. I received a Bachelor of

Arts degree in Law Enforcement in 2014.
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       2.     During my law enforcement career, I have been involved in the

investigation of cases involving the possession, receipt, and distribution of child

pornography in violation of 18 U.S.C. §§ 2251, 2252, and 2252A. I have become

familiar with the modus operandi of persons involved in the illegal production,

distribution and possession of child pornography. Based on my experience and

training, I am knowledgeable of the various means utilized by individuals who

illegally produce, distribute, receive and possess child pornography.

       3.     I am aware that 18 U.S.C. §§ 2251, 2252 and 2252A, prohibit the

production, distribution, receipt and possession of visual depictions of a minor

engaging in sexually explicit conduct, using any means or facility of interstate or

foreign commerce, including by computer or utilizing the internet.

       4.     The facts set forth in this affidavit are based on my personal

knowledge; knowledge obtained from other individuals, including other law

enforcement officers; interviews of persons with knowledge; my review of

documents, interview reports and computer records related to this investigation;

communications with others who have personal knowledge of the events and

circumstances described herein; and information gained through my training

and experience. This affidavit contains information necessaiy to support

probable cause for this application and does not Contain eveiy material fact that

I have learned during the course of this investigation; however, no information

known to me that would tend to negate probable.cause has been withheld from

this affidavit.
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                   ITEMS TO BE SEARCHED FOR AND SEIZED:

       5.    This affidavit is submitted in support of an application for a search

warrant for the contents of and information pertaining to a Google, Inc. account

found during the investigation of an unknown subject utilizing the TARGET

ACCOUNT, which is more specifically described in Attachment A,for contraband

and evidence, fruits, and instrumentalities of violations of 18 U.S.C. §§ 2251,

2252, and 2252A (production, receipt and possession of child pornography), and

which items are more specifically described in Attachment B. The specific Gmail

account is: im970684@smail.com (also referred to in this affidavit as "Target

Account").

                                  DEFINITIONS


      6.     The following definitions apply to this Affidavit and Attachments A

and B:


      a.     "Chat," as used herein, refers to any kind of text communication

transmitted over the Internet in real-time from sender to receiver.         Chat

messages are generally short in order to enable other participants to respond

quickly and in a format, that resembles an oral eonversation. This feature

distingmshes chatting from other text-based online communications such as

Internet forums and email.

      b.     "Child Erotica," as used herein, means materials or items that are

sexually arousing to persons having a sexual interest in minors but that are not

necessarily, in and of themselves, obscene or that do not necessarily depict

minors in sexually explicit poses or positions.
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       c.    "Child pornography," as defined in 18 U.S.C.§ 2256(8), is any visual
depiction of sexually explicit conduct where (a) the production of the visual
depiction involved the use of a minor engaged in sexually explicit conduct, (b)
the visual depiction is a digital image, computer image, or computer-generated
image that is, or is indistinguishable from, that of a minor engaged in sexually
explicit conduct, or (c) the visual depiction has been created, adapted, or
modified to appear that an identifiable minor is engaged in sexually explicit
conduct.


      d.     "Cloud-based storage service," as used herein, refers to a publically

accessible, online storage provider that collectors of child pornography can use

to store and trade child pornography in larger volumes. Users of such a service

can share links and associated passwords to their stored files with other traders

of child pornography in order to grant access to their collections. Such services

allow individuals to access these files easily through a wide variety of electronic

devices such as desktop and laptop computers, mobile phones, and tablets,

anywhere and at any time. An individual with the password to file stored on a

cloud-based service does not need to be a user of the service to access the file.

Access is free and readily available to anyone who has an internet connection.

      e.    "Computer," as used herein, refers to "an electronic, magnetic,

optical, electrochemical, or other high speed data processing device performing

logical or storage functions, and includes any data storage facility or

communications facility directly related to or operating in conjunction with such

device" and includes smartphones, and mobile phones and devices. See 18
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U.S.C. § 1030(e)(1).

       f.     "Computer hardware," as used herein, consists of all equipment,

which can receive, capture, collect, analyze, create, display, convert, store,

conceal, or transmit electronic, magnetic, or sirriilar computer impulses or data.

Computer hardware includes any data-processing devices (including, but not

limited to, central processing units, internal and peripheral storage devices such

as fixed disks, external hard drives, floppy disk drives and diskettes, and other

memoiy storage devices); peripheral input/output devices (including, but not

limited to, keyboards, printers, video display monitors, and related

communications devices such as cables and connections), as well as any devices,

mechanisms, or parts that can be used to restrict access to computer hardware

(including, but not limited to, physical keys and locks).

       g.    "Computer software," as used herein, is digital information, which a

computer can interpret and any of its related components to direct the way they

work. Computer software is stored in electronic, magnetic, or other digital form.

It commonly includes programs to run operating systems, applications, and

utilities.


       h.      "Computer-related documentation," as used herein, consists of

written, recorded, printed, or electronically stored material, which explains or

illustrates how to configure or use computer hardware, computer software, or
other related items.


       i.    "Computer passwords, pass-phrases and data security devices," as

used herein, consist of information or items designed to restrict access to of hide
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 computer software, documentation, or data. Data security devices may consist
_ of hardware, software, or other programming code. A password or pass-phrase
(a string of alphanumeric characters) usually operates as a sort of digital key to
 unlock" particular data security devices. Data security hardware may include
encryption devices, chips, and circuit boards. Data security software of digital
code may include programming code that creates "test" keys or "hot" keys, which
perform certain pre-set security functions when touched. Data security software
or code may also encrypt, compress, hide, or "booby-trap" protected data to make

it inaccessible or unusable, as well as reverse the progress to restore it.

      j.   A provider of"Electronic Communication Service"("ESP"), as defined

in 18 U.S.C. § 2510(15), is any service that provides to users thereof the ability
to send or receive wire or electronic communications. For example, "telephone

companies and electronic mail companies" generally act as providers of

electronic communication services. See 8. Rep. No. 99-541 (1986), reprinted in

1986 U.S.C.C.A.N. 3555, 3568.

      k.     "Electronic Storage Device" includes but is not limited to external

and internal hard drives, thumb drives, flash drives, SD cards, gaming devices

with storage capability, storage discs(CDs and DVDs), cameras, cellular phones,

smart phones and phones with photo-taking and/or internet aceess capabilities,

and any "cloud" storage by any provider.

      1.   "File Transfer Protocol"("FTP"), as used herein, is a standard network

protocol used to transfer computer files from one host to another over a computer

network, such as the Internet. FTP is built on client-server architecture and
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uses separate control and data connections between the client and the server,

       m.     "Internet Protocol address" or "IP address," as used herein, refers

to a unique number used by a computer to access the Internet. IP addresses

can be "dynamic," meaning that the ISP assigns a different unique number to a

computer every time it accesses the Internet. IP addresses might also be "static,"

if an ISP assigns a user's computer a particular IP address that is used each time

the computer accesses the Internet.

      n.    "Internet Service.Providers" ("ISPs"), as used herein, are commercial

organizations that are in business to provide individuals and businesses access

to the Internet. ISPs provide a range of functions for their customers including

access to the Internet, web hosting, e-mail, remote storage, and co-location of

computers and other communications equipment.

      o.    "Records,""documents," and "materials," as used herein, include all

information recorded in any form, visual or aural, and by any means, whether

in handmade, photographic, mechanical, electrical, electronic, or magnetic form.

      p.      "Remote Computing Service" ("RCS"), as defined in 18 U.S.C. §

2711(2), is the provision to the public of computer storage or processing services

by means of an electronic communications system.

      q.    "Short Message Service"("SMS"), as used herein, is a service used to

send text messages to mobile phones. SMS is also often referred to as texting,

sending text messages or text messaging. The service allows the user to send

short text messages from one cell phone to another cell phone or from the Web

to another cell phone. The term "computer," as defined in 18 U.S.C. § 1030(e)(1),

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means an electronic, magnetic, optical, electrochemical, or other high speed data

processing device performing logical, arithmetic, or storage functions, and

includes any data storage facility or communications facility directly related to

or operating in conjunction with such device.

      r.   "Sexually explicit conduct," as defined in 18 U.S.C. § 2256(2), means

actual or simulated (a) sexual intercourse, including genital-genital, oral-genital,

or oral-anal, whether between persons of the same or opposite sex;(b) bestiality;

(c) masturbation;(d) sadistic or masochistic abuse; or (e) lascivious exhibition of

the genitals or pubic area of any person.

      s.     "Visual depiction," as defined in 18 U.S.C. § 2256(5), includes

undeveloped film and videotape, data stored on computer disc or other electronic

means which is capable of conversion into a visual image, and data which is

capable of conversion into a visual image that has been transmitted by any

means, whether or not stored in a permanent format.

  BACKGROUND ON CHILD EXPLOITATION AND CHILD PORNOGRAPHY,
                 COMPUTERS. THE INTERNET, AND EMAIL

      7.    I have had both training and experience in the investigation of

computer-related crimes. Based on my training, experience, and knowledge, I

know the following:

            a.    Computers and digital technology have dramatically changed

      the way in which individuals interested in child pornography interact with

      each other. Computers serve many functions for persons who exploit

     children online; they serve as a mechanism for meeting child-victims and

     communicate with them; they serve as a mechanism to get images of the
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    children and send images of themselves; computers serve as the manner
    in which persons who exploit children online can meet one another and

    compare notes.

           b.     Persons, who exploit children online, can now transfer

    printed photographs into a computer-readable format with a device known

    as a scanner and then distribute the images using email, like Gmail and

    Yahoo! Inc.     Furthermore,'with the advent of digital cameras and

    smartphones with cameras, when the photograph is taken it is saved as a

    digital file that can be directly transferred to a computer by simply
    connecting the camera or smartphone to the computer. In the last ten

    years, the resolution of pictures taken by digital cameras and smartphones

    has increased dramatically, meaning that such pictures have become

    sharper and crisper. Photos taken on a digital camera or smartphone may

    be stored on a removable memory card in the camera or smartphone.

    These memory cards often store up to 32 gigabytes of data, which provides

    enough space to store thousands of high-resolution photographs. Video

    camcorders, which once recorded video onto tapes or mini-CDs, now can

    save video footage in a digital format directly to a hard drive in the camera.

    The user can easily transfer video files from the camcorder to a computer.

          c.      A device known as a modem allows any computer to connect

    to another computer with telephone, cable, or wireless connection. People

   can make electronic contact to literally millions of computers around the

   world. The ability to produce child pornography easily, reproduce it
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       inexpensively, and     market it anonymously (through electronic
       communications) has drastically changed the method of distribution and

       receipt of child pornography. Persons can transfer child pornography via
      electronic mail or through file transfer protocols (FTPs) to anyone with
      access to a computer and modem.            Because of the proliferation of

      commercial services that provide electronic mail service, chat services (i.e.,
      "instant messaging"), and easy access to the Internet, the computer is a
      preferred method of distribution and receipt of child pornographic
      materials.

            d.     The Internet affords individuals several different venues for

      meeting and exploiting children in a relatively secure and anonymous

      fashion.

            e.     Individuals also use online resources to exploit children,

      including services offered by Internet Portals such as Gmail and Hotmail,

      among others. The online services allow a user to set up an account with

      a remote computing service that provides e-mail services as well as

      electronic storage of computer files in any variety of formats. A user can

      set up an online storage account from any computer with access to the

      Internet. Even in cases where a user utilizes online storage is, evidence of

      child pornography can be found on the user's computer or external media

      in most cases.

      8.     Based on my training and experience and investigation in this

case, I have learned the following about Google:

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    a. Google offers an e-mail service that is available free to Internet users

    called "Gmail." Stored electronic communications, including opened and.

    unopened e-mail for Gmail subscribers may be located on Google's

    computers.

    b. Google maintains electronic records pertaining to the individuals and

    companies for which they maintain subscriber accounts. These records

    include'account access information, e-mail transaction information, and

    account application information.

    c.   Subscribers can access their Gmail e-mail accounts by activating

    software on a device or computer, login in using unique usernames and

    passwords, and connecting to high-speed Internet computers called

    "servers" maintained and/or owned by Google. Subscribers also may be

    able to access their accounts from any other computer in the world

    through Google's web site on the Internet.

    d. When a user sends any e-mail to a Gmail e-mail subscriber the email is

    stored in the subscriber's "mail box" on Google's servers until the

    subscriber deletes it or until the stored e-mail exceeds the storage limit

    allowed by Google.

    e.   When the subscriber sends an e-mail, it is initiated at the user's

    computer, transferred via the Internet to Google's servers, and then

    transmitted to its end destination, usually through another subscriber's

    e-mail provider. Copies of sent e-mail are stored on Google's servers in the

    same manner as received e-mail, Google retains the email until the user


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      deletes it or exceeds the storage limit.

      f. Even if the contents of the message no longer exist on the company's

      servers, Google may have records of when a subscriber logged into his or

      her account, when a message was sent or received, as well as technical

      routing information that       law enforcement could use to determine who

      sent or received an e- mail.


      9.    From my training and experience, I am aware that Google's

computers contain information and other stored electronic communications

belonging to unrelated third parties. Accordingly, this affidavit and application

for search warrant seeks authorization solely to search the computer accounts

and/or files for information and the content of communications pertaining to the

Target Account specified herein and in Attachment A, following the procedures

described herein.


                             PROBABLE CAUSE


      10.   On January 2, 2020, Detective Elliott Harding received four

cybertips from the National Center from Missing and Exploited Children

(NCMEC): 59190015,59738685,59844348 and60115237.


CYBERTIP 59190015:


      11.   The images in cybertip 59190015 were locked so Harding obtained

a search warrant to unlock the files from the 7^ Judicial Circuit, South Dakota.

He learned the following:

Incident Information:
Incident Type: Child Pornography (possession, manufacture, and distribution)
Incident Time: 11-12-2019 01:13:40 UTC.

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Description ofIncident Time:The incident date refers to the approximate date and
time Google became aware ofthe reported material.
Suspect Name: Jay
Date of Birth: 08-27-2000

 Email Address: dogeyel7@gmaiLcom (Verified)
 Email Address:jm970684@gmail.com

 Additional Information Submitted by the Reporting ESP:
 Google became aware of the reported content which was stored in Google
 Drive infrastructure
 Uploaded File Information: Number of uploaded files: 72

       12.   Det. Harding investigated the IP addresses associated with cybertip

59190015 and learned the following:            209.159.232.149: Vast Broadband;

45.33.129.40: CloudMosa;. 107.178.38.28: CloudMosa; 109.169.63.48: lomart

Hosting Limited.

       13.   Per Harding: Within this portion of the CybeiTip, it provided many

Login IP addresses fiom2/10/19 and 11/4/19. Many of the IP addresses listed

were   209.159.232.149. There         were single instances of IP addresses

45.33.129.40, 104.244.78.233 and 107.178.38.28. There were two instances of

109.169.63.48. ..

       14.   Det. Harding observed the images associated with cybertip

59190015, He observed a total of 71 files constituting child pornography. The

images included a video of a 7-10 year old girl being anally raped; a picture of a

4-6 year old girl inserting her finger into another girl,, of similar age's vagina while

a male ejaculated into one of the girl's mouth; a pieture of a 4-5 year old girl with

an unknown object inserted in her vagina and anus; a video of a 3-5 year old girl

digitally manipulating an adult penis; a video of a 2-4 year old being manipulated

so her finger went in and out,of her vagina; a video of a man inserting an
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unknown object into the vagina of a 6-8 year old; and a video of one 3-5 year old

licking another like-aged female's anus and buttocks.

      CYBERTIP 59738685:

      15.    NCMEC provided the following information regarding cybertip

59738685:


Incident Information

Incident Type: Child Pornography (possession, manufacture, and distribution)

Incident Time: 11-20-2019 08:00:59 UTC

Description of Incident Time: The incident date refers to the approximate date
and time Google became aware of the reported material.

Suspect
The information under the Suspect heading was the same
as CyberTip 59190015 mentioned above.

Additional Information Submitted by the Reporting ESP
Google became aware of the reported content which was stored in Google Drive
infrastructure


Uploaded File Information
Number of uploaded files: 4


      16.   Det. Harding observed four images of child pornography related to

this cybertip. The images included a picture of a 6-9 year old with her genitals

partially exposed; a video of a 6-9 year old girl exposing her yagina; a picture of

a 2-4 year old girl squatting and exposing her vagina with a sucker in her mouth;

and a picture of a 6-8 year old girl exposing her vagina and breasts.

      CYBERTIP 60115237:


      17.   Det. Harding learned that in cybertip 60115237, Google reported


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Anime/Drawing/Virtual Child Pornography to NCMEC: Incident Information

Incident Type: Child Pornography (possession, manufacture, and

distribution)

Incident Time: 11-26-2019 03:41:35 UTC
Description of Incident Time: The incident date refers to the approximate date
and time Google became aware of the reported material.

Suspect: The information under the Suspect heading was the same
as CyberTIp 59190015 and 59738685 mentioned above.

Additional Information Submitted by the Reporting ESP; Google became
aware of the reported content which was stored in Google Drive infrastructure
Uploaded File Information: Number of uploaded files: 1.

      18.   There was one file contained in this cybertip and it was a video of

animated child pornography of a 5-7 year old girl in various states of nudity and

engaging in masturbation with playground equipment and also engaging in

sexual intercourse with a like-age male.

CYBERTIP 59844348


      19.   Detective Harding received a fourth cybertip related to the same user

as the three described above. The following is the information he received from

NCMEC:


Incident Information
Incident Type: Child Pornography (possession, manufacture, and distribution)
Incident Time: 11-22-2019 03:11:39 UTC
Description of Incident Time: The incident date refers to the approximate date
and time Google became aware of the reported material.

Suspect: The information under the Suspect heading was the same
as CyberTips 59190015, 59738685 and 60115237 mentioned above.

Additional Information Submitted by the Reporting ESP: Google became aware
of the reported content which was stored in Google Drive infrastructure


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uploaded File Information: Number of uploaded files: 1

      20.    Det. Harding reviewed the image associated with this cybertip. He

described it as a photo of an 8-11 year old girl, standing on a couch with her

genitals and breasts exposed.

      21.   On January 9, 2020, Det. Harding sent a reque^ to HSI Analyst

Amber Cooper asking her to identify the suspect based on the information

provided    in   the     four cybertips mentioned   above.      Analyst    Cooper

subpoenaed Vast Broadband regarding the IP address 209.159.232.149 which

made up the majority of the suspect login IP addresses. Vast returned the

following information:




      22.   Analyst Cooper reviewed obituary information

published online provided the following associated family member names:




James Miller (the suspect)

      23.   Analyst Cooper conducted a driver's license inquiry which showed

James Miller                  lived at

      24.   She also ran a criminal history inquiry, which provided that James

Miller had been arrested for solicitation of a minor and the case is currently

pending. Det. Harding reviewed the police reports related to that offense which

confirmed that Miller lives at the above address. The allegations were that in the

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summer of 2018, Miller separately approached three girls, one 11 years old and

two 12 years old, playing around his apartment complex and asked to take

pictures of them. One of the girls indicated that Miller asked to take pictures of

her breasts and vagina.

      25.    Officers investigating the solicitation matter interviewed Rebecca

Miller and James Miller at their home. Rebecca invited the officers into the

apartment and retrieved James from a bedroom. Upon being asked if he was

willing to participate in an interview, James indicated that he would first have to

pause his computer game and returned to the room. James denied asking the

girls for pictures. Rebecca indicated that despite James being an adult, she had

guardianship of James because he is autistic and cannot make decisions for

himself.

      26.   All four of the cybertips were associated with the same email

accounts,   which    were     dogeye 17@gmail.com    and   im970684@gmail.com

(SUBJECT ACCOUNT). Analyst Cooper issued subpoenas to Google to get user

information regarding dogeve 17@gmail.com.        Google responded that email's

recovery email was the im970684@gmail.com account and the user's name for

that account was "James Miller".

        INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

      27.    I   anticipate   executing   this   warrant under    the   Electronic

Communications Privacy Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A)

and 2703(c)(1)(A), by using the warrant to require Google, Inc. to disclose to the

government copies of the records and other information (including the content

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of communications) particularly described in Attachment A and Section I of

Attachment B.      Upon receipt of the information described in Section I of

Attachment B, government-authorized persons will review that information to

locate the items described in Section II of Attachment B.

                                   JURISDICTION


      28.    This Court has jurisdiction to issue the requested warrant because

it is "a court of competent jurisdiction" as defined by 18 U.S.C. § 2711(3). 18

U.S.C. §§ 2703(a), (b)(1)(A) 8& (c)(1)(A). Specifically, this Court is a "district court

of the United States (including a magistrate judge of such court)" that "has

jurisdiction over the offense being investigated." 18 U.S.C. § 271 l(3)(A)(i).

       REQUEST/JUSTIFICATION FOR ORDER OF NONDISCLOSURE

      29.    The United States respectfully applies for an order of nondisclosure

to Google, Inc. under 18 U.S.C. § 2705(b) regarding the following account:

im970684@gmail.com. The United States is seeking this search warrant for

subscriber information, including all names, addresses, IP addresses, including

historical, telephone numbers, other email addresses, information on length and

types of services and any means of payment related to these accounts under the

authority given by 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A). Based

on § 2703(c)(3), the United States is not required to provide notice to the

subscriber. Under § 2705(b), the United States may apply to the court for an

order commanding Google, Inc. not to notify the subscriber of the existence of

the search warrant. The court may decide what length of time shall apply to the

order of nondisclosure if the court determines the notification to the subscriber


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could result in one of the five factors listed in the statute, which includes
destruction of or tampering with evidence. 18 U.S.C. § 2705(b)(3). The basis for
the request is that such disclosure could cause any person with access to the
accounts, or any related account or account information, to tamper with or
modify the content or account information and thereby destroy or tamper with
evidence and otherwise seriously jeopardize the investigation. Especially due to
the ease of access to Google, Inc., persons can modify its content with internet
access and sufficient account information.          As such, the United States

respectfully requests this Court enter an order commanding Google, Inc. not to
notify the user of the existence of this warrant.
                    REQUEST FOR SEALING OF MATTER

      30. I request that the Court order sealing this case until further order of
the Court. The documents filed in the case discuss an ongoing criminal
investigation that is neither public nor known to all the targets of the
investigation. Accordingly, there is good cause to seal these documents because
their premature disclosure may give targets an opportunity to flee, destroy or
tamper with evidence, change patterns of behavior, notify confederates, or
otherwise seriously jeopardize the investigation.
                         LIMIT ON SCOPE OF SEARCH

      31.    I submit that if during the search, agents find evidence of crimes
not set forth in this affidavit, another agent or I will seek a separate warrant.
                                  CONCLUSION


       32. Based on my training and experience, and the facts as set forth in

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this affidavit, there is probable cause to believe that on computer systems owned,

maintained, controlled and/or operated by Google, Inc., there exists evidence of

a crime, contraband, instrumentalities, and/or fruits of violations of criminal

laws as specified herein, including identification of the person who used the

electronic accounts described in Attachment A. The facts outlined above show

that the Google, Inc. account, listed in Attachment A has been used for the

exploitation of children using the internet including violations of 18 U.S.C. §

2422(b) (enticement of a minor using the internet), which items are more

specifically described in Attachment B. There is probable cause to believe that

the unidentified user of the Gmail account, exploited minors using the internet

and thereby violated the aforementioned statutes in the District of South Dakota

and elsewhere. The account is the subject of this warrant affidavit. The account

is jm970684@gmail.com.

      40.   Law enforcement agents will serve the warrant on Google, Inc., who

will then compile the requested records at a time convenient to it, so there exists

reasonable cause to permit the execution of the requested warrant at any time

in the day or night. Pursuant to 18 U.S.C. § 2703(g), the presence of a law

enforcement officer is not required for the service or execution of this warrant.

      41.   For these reasons, I request authority to seize all electronic

communications and other content stored in the Target Account, to be searched

off-site in a controlled environment. Law enforcement officers and agents will

review the records sought by the search warrant and will segregate any messages

and content constituting evidence, fruits or instrumentalities of violations of


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federal criminal law. Additionally, I request authority to serve the warrant on

Google, Inc. via the internet and to allow Google, Inc. to copy the data outside of

this agent's presence.

                      RETURN COMPLIANCE BY GOOGLE,INC.

        42. Google's policies prohibit mailing or emailing child pornography to law

enforcement in response to a search warrant, instead requiring a law

enforcement officer to personally appear and collect contraband materials,

unless the means of production is explicitly described in that search warrant.

Specifically, Google requires the Court order the disclosure, notwithstanding 18

U.S.C. § 2252A or similar statute or code.

Dated
                                        Special Agent Michelle Pohlen
                                        Department of Homeland Security
                                        Investigations



^OTn to before me and:
  signed in my presence.
□ submitted, attested to, and acknowledged by reliable electronic means.
                 a-
        this   9-1   day of January, 2020



                                                 Daneta Wollmann
                                                 United States Magistrate Judge




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                              ATTACHMENT A
                         Property to Be Searched

     This warrant applies to the contents of and information associated with

the following Gmail email account, under an account known to be stored at the

premises controlled by Google, Inc., a company that accepts service of legal

process at 1600 Amphitheatre Parkway, Mountain View, California 94043:

im970684@gmail.com.




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                                  ATTACHMENT B
                  Particular Things to be Seized and Procedures
                      to Facilitate Execution of the Warrant

   I.        Information to be disclosed by Google, Inc.(the "Provider") to
             facilitate execution of the warrant:

        To the extent that the information described in Attachment A is within the

possession, custody, or control of Google Inc., including any emails, records,

files, logs, or information that have been deleted but are still available to Google

Inc., or have been preserved pursuant to a request made under 18 U.S.C. §

2703(f) on January 14, 2020. Google Inc. is required to disclose the following

information to the government for each account or identifier listed in Attachment

A, including any information contained in the email account which is helpful to

determine the accounts' user's or owner's true identity:

        a.     The contents of all e-mails associated with the account, from the

time of the account's creation to the present, including stored or preserved copies

of emails sent to and from the account, email attachments, draft emails, deleted

emails, the source and destination addresses associated with each email, the

date and time at which each email was sent, and the size and length of each e-

mail;

        b.     The contents of all Instant Messages (IM) associated with the

account, from the time of account's creation to the present, including stored or

preserved copies ofIMs sent to and from the account,IM attachments, draft IMs,

the source and destination addresses associated with each IM, the date and time

at which each IM was sent, and the size and length of each IM;



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    • c.     All records or other information regarding the identification of the

account, to include full name, physical address, telephone numbers and other

identifiers, records of session times and durations, the date on which the

account was created, the length of service, the IP addresses used to register the

account, all log-in IP addresses associated with session times and dates, account

status, alternative e-mail addresses provided during registration, methods of

connecting, log files, and means and source of pajnnent (including any credit or

bank account number);

      d.    The types of services utilized;

      e.     All records or other information stored by an individual using the

accounts, including address books, contact and buddy lists, calendar.data,

pictures, and files;

      f.     All records pertaining to communications between Google Inc. and

any person regarding the accounts, including contacts with support services and

records of actions taken.




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II.           Information to be seized by the government

      •1.     All information described above in Section I that was created or

saved after the creation of the account that is the subject of this warrant and

that constitutes contraband or fruits, evidence or instrumentalities of violations

of 18 U.S.C. § 2422(b), enticement of a minor using the internet, including, for

the account or identifiers listed on Attachment A, information pertaining to the

following matters:

      a. Any person emplo5dng, using, persuading, inducing, enticing, or

            coercing any minor to engage in any sexually explicit conduct for the

            purpose of producing any visual depiction of such conduct or for the

            purpose of transmitting a live visual depiction of such conduct, or

            attempting or conspiring to do so;

      b. Any person knowingly distributing, receiving, or possessing child

            pornography as defined at 18 U.S.C. § 2256(8), or attempting or

            conspiring to do so;

      c. Any person knowingly persuading, inducing, enticing, or coercing any

            individual who has not attained the age of 18 years, to engage in any

            sexual activity for which any person can be charged, or attempting to

            do so;

      d. Evidence indicating how and when the email account was accessed or

            used, to determine the geographic and chronological context of

            account access, use, or events relating to the crime under investigation

            and to the email account owner or user;

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      e. Evidence indicating the email account users or owner's state of mind

           as it relates to the crime under investigation;

      f.   The identity of the person(s) who created or used the user ID,including

           records that help reveal the whereabouts of such person(s);

      g. Records relating to who created, used, or communicated with the

           electronic account or identifier listed in Attachment A about matters

           relating to the criminal activity listed above, including identification of

           coconspirators, accomplices, and        aiders and abettors in the

           commission of the above offenses, including records that help reveal

           their whereabouts.

      2.     Credit card information and money wire transmittal information,

including bills, payment records, and any receipts, for payments to third party

money remitters,includingXoom.com, Western Union, PayPal, and MoneyGram.

      3.     Evidence of who used, owned, or controlled the account or identifier

listed on Attachment A, including evidence of their whereabouts;

      4.     Evidence of the times the user utilized the account or identifiers

listed on Attachment A;

      5.     Passwords and encryption keys, and other access information that

may be necessary to access the accounts or.identifier listed on Attachment A and

other associated accounts.




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   III.     Information Regarding Search Warrant Compliance by Google:

          Google shall disclose responsive data, if any, by sending to:

                     Special Agent Michelle Pohlen
                     Department of Homeland Security Investigations
                     1516 Fountain Plaza Drive
                     Rapid City, SD 57702
                     Michelle.A.Pohlen@ice.dhs.gov

      Google shall use the United States Postal Service or another courier service

to disclose the responsive data,■ notwithstanding 18 U.S.C. § 2252A or similar

statute or code.      In the alternative, Google may make the responsive data

available to Special Agent Pohlen by use of its law enforcement website.




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                   CERTIFICATE OF AUTHENTICITY OF DOMESTIC
                    BUSINESS RECORDS PURSUANT TO FEDERAL
                           RULE OF EVIDENCE 902flll


       I;      ^     ^       ^                , attest, under penalties of peijuiy
under the laws of the United States of America pursuant to 28 U.S.C. § 1746,

that the information contained in this declaration is true and correct. I am

employed by Google Inc., and my official title is                                    .

I am a custodian of records for Google Inc. I state that each of the records

attached hereto is the original record or a true duplicate of the original record

in the custody of Google Inc., and that I am the custodian of the attached

records consisting of             (pages/CDs/kilobytes). I further state that:

       a.    all records attached to this certificate were made at or near the

time of the occurrence of the matter set forth, by, or from information

transmitted by, a person with knowledge of those matters;

       b.    such records were kept in the ordinary course of a regularly

conducted business activity of Google Inc.; and

       c. , such records were made by Google Inc. as a regular practice.

       I further state that this certification is intended to satisfy Rules 902(11)
                             f




and (13) of the Federal Rules of Evidence.



Date                             Signature




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